Case 8:22-cv-01855-CEH-SPF Document 32 Filed 10/28/22 Page 1 of 1 PageID 151




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

ANNA RASLAVICH,

      Plaintiff,

v.                                                  Case No: 8:22-cv-1855-CEH-SPF

SPANX, LLC,

      Defendant.
___________________________________/

                                     ORDER

      Before the Court is the Plaintiff’s Stipulation of Dismissal With Prejudice (Doc.

31). In accord with the Stipulation of Dismissal With Prejudice, it is ORDERED:

      1)     This cause is dismissed, with prejudice.

      2)     The Clerk is directed to terminate any pending motions and deadlines

and CLOSE this case.

      DONE AND ORDERED in Tampa, Florida on October 28, 2022.




COPIES FURNISHED TO:
Counsel of Record
